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 1

 2                                                            THE HONORABLE THOMAS S. ZILLY

 3

 4

 5

 6

 7
                                    UNITED STATES DISTRICT COURT
 8                                 WESTERN DISTRICT OF WASHINGTON
 9                                              AT
10                                                           CASE NO. [CASE #]
      [PLAINTIFF],
11                                                           MODEL
          BUNGIE, INC., a Delaware corporation,              Cause No. 2:21-cv-0811 TSZ
12
                             Plaintiff,                      [PROPOSED] STIPULATED
13
                                                             PROTECTIVE ORDER
14                            v.

15                           [DEFENDANT],

16                           Defendant.
17    AIMJUNKIES.COM, a business of unknown
      classification; PHOENIX DIGITAL GROUP
18    LLC, an Arizona limited liability company;
19    JEFFREY CONWAY, an individual; DAVID
      SCHAEFER, an individual; JORDAN GREEN,
20    an individual; and JAMES MAY, an individual,

21                           Defendants.
22

23   1.        1. PURPOSES AND LIMITATIONS

24             Discovery in this action is likely to involve production of confidential, proprietary, or

25   private information for which special protection may be warranted. Accordingly, the The parties

26   hereby stipulate to and petition the court to enterhave therefore agreed to the following


      [PROPOSED] STIPULATED PROTECTIVE                                        Perkins Coie LLP
                                                                       1201 Third Avenue, Suite 4900
      ORDER                                                            Seattle, Washington 98101-3099
      (No. 2:21-cv-0811 TSZ) – 1                                           Phone: +1.206.359.8000
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 1
     Stipulated Protective Order. The parties acknowledge that this agreement is consistent with LCR
 2
     26(c). It does not confer blanket protection on all disclosures or responses to discovery, the
 3
     protection it affords from public disclosure and use extends only to the limited information or
 4
     items that are entitled to confidential treatment under the applicable legal principles, and it does
 5
     not presumptively entitle parties to file confidential information under seal.
 6
     2.       2.    ““CONFIDENTIAL” AND “AND “HIGHLY CONFIDENTIAL” MATERIAL
 7
              2.1   “Confidential” material shall include the following documents and tangible things
 8
     produced or otherwise exchanged: [The parties must include a list of specific documents such as
 9
     “company’s customer list” or “plaintiff’s medical records;” do not list broad categories of
10
     documents such as “sensitive business material”] confidential or commercially sensitive
11
     technical, sales, marketing, personal, or financial information of the producing party (including
12
     any party to this action and any non-party producing information or material voluntarily or
13
     pursuant to a subpoena or a court order in connection with this action), or information that the
14
     producing party is under a legal obligation to maintain as confidential.
15
              2.2   “Highly Confidential” material shall include any document, material, or
16
     information otherwise meeting the definition of “Confidential,” the disclosure of which to
17
     another party or non-party the disclosing party reasonably believes would likely result in
18
     competitive, commercial, financial, or other harm to the disclosing party or its clients or
19
     potential clients. “Highly confidential” material may include, without limitation, proprietary
20
     technical information in the nature of hardware design documents, source code; proprietary
21
     software; license key generators; computer passwords; commercially sensitive competitive
22
     information; trade secret, or other confidential research and development information; and
23
     commercial agreements, the disclosure of which is likely to cause harm to the competitive
24
     position of the producing party.
25

26

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 1
     3.       3. SCOPE
 2
              The protections conferred by this agreement cover not only confidential material (as
 3
     defined above), but also (1) any information copied or extracted from confidential material; (2)
 4
     all copies, excerpts, summaries, or compilations of confidential material; and (3) any testimony,
 5
     conversations, or presentations by parties or their counsel that might reveal confidential material.
 6
              However, the protections conferred by this agreement do not cover information that is in
 7
     the public domain or becomes part of the public domain through trial or otherwise.
 8
     4.       4. ACCESS TO AND USE OF CONFIDENTIAL MATERIAL
 9
              4.1     4.1 Basic Principles. A receiving party may use confidential material that is
10
     disclosed or produced by another party or by a non-party in connection with this case only for
11
     prosecuting, defending, or attempting to settle this litigation. Confidential material may be
12
     disclosed only to the categories of persons and under the conditions described in this agreement.
13
     Confidential material must be stored and maintained by a receiving party at a location and in a
14
     secure manner that ensures that access is limited to the persons authorized under this agreement.
15
              4.2     4.2 Disclosure of “CONFIDENTIAL” Information or Items. Unless otherwise
16
     ordered by the court or permitted in writing by the designating party, a receiving party may
17
     disclose any confidential material only to:
18
                      (a)    (a) the receiving party’s counsel of record in this action, as well as
19
     employees of counsel to whom it is reasonably necessary to disclose the information for this
20
     litigation;
21
                      (b)    (b) the officers, directors, and employees (including in house counsel) of
22
     the receiving party to whom disclosure is reasonably necessary for this litigation, unless the
23
     parties agree that a particular document or material produced is for Attorney’s Eyes Only and is
24
     so designated;
25

26

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 1
                    (c)     (c) experts and consultants to whom disclosure is reasonably necessary for
 2
     this litigation and who have signed the “Acknowledgment and Agreement to Be Bound” (Exhibit
 3
     A);
 4
                    (d)     (d) the court, court personnel, and court reporters and their staff;
 5
                    (e)     (e) copy or imaging services retained by counsel to assist in the
 6
     duplication of confidential material, provided that counsel for the party retaining the copy or
 7
     imaging service instructs the service not to disclose any confidential material to third parties and
 8
     to immediately return all originals and copies of any confidential material;
 9
                    (f)     (f) during their depositions, witnesses in the action to whom disclosure is
10
     reasonably necessary and who have signed the “Acknowledgment and Agreement to Be Bound”
11
     (Exhibit A), unless otherwise agreed by the designating party or ordered by the court. Pages of
12
     transcribed deposition testimony or exhibits to depositions that reveal confidential material must
13
     be separately bound by the court reporter and may not be disclosed to anyone except as
14
     permitted under this agreement;
15
                    (g)     the author or recipient of a document containing the information or a
16
     custodian or other person who otherwise possessed or knew the information
17
                    (h)     mediators or discovery masters (and their support staff) assisting in the
18
     above-captioned action; and
19
                    (i)     any other person designated by written agreement of the parties and the
20
     disclosing party, or by order of the Court, where such disclosure is reasonably necessary for this
21
     litigation and only after the above named persons have signed the “Acknowledgment and
22
     Agreement to Be Bound” (Exhibit A).
23
              4.3   Disclosure of “HIGHLY CONFIDENTIAL” Information or Items.                            Unless
24
     otherwise ordered by the court or permitted in writing by the designating party, a receiving party
25
     may disclose any Highly Confidential material only to:
26

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 1
                    (a)     the receiving party’s counsel of record in this action, as well as employees
 2
     of counsel to whom it is reasonably necessary to disclose the information for this litigation
 3
     provided those employees are not also employees of the receiving party;
 4
                    (b)     experts and consultants (including computer forensic examiners and
 5
     custodians) to whom disclosure is reasonably necessary for this litigation and who have signed
 6
     the “Acknowledgment and Agreement to Be Bound” (Exhibit A);
 7
                    (c)     the court, court personnel, and court reporters and their staff;
 8
                    (d)     (g) the author or recipient of a document containing the information or a
 9
     custodian or other person who otherwise possessed or knew the information;
10
                    (e)     mediators or discovery masters (and their support staff) assisting in the
11
     above- captioned action; and
12
                    (f)     any other person designated by written agreement of the parties and the
13
     disclosing party, or by order of the Court, where such disclosure is reasonably necessary for this
14
     litigation and only after the above named persons have signed the “Acknowledgment and
15
     Agreement to Be Bound” (Exhibit A).
16
              4.4   4.3 Filing Confidential Material. Before filing confidential material or discussing
17
     or referencing such material in court filings, the filing party shall confer with the designating
18
     party, in accordance with Local Civil Rule 5(g)(3)(A), to determine whether the designating
19
     party will remove the confidential designation, whether the document can be redacted, or
20
     whether a motion to seal or stipulation and proposed order is warranted. During the meet and
21
     confer process, the designating party must identify the basis for sealing the specific confidential
22
     information at issue, and the filing party shall include this basis in its motion to seal, along with
23
     any objection to sealing the information at issue. Local Civil Rule 5(g) sets forth the procedures
24
     that must be followed and the standards that will be applied when a party seeks permission from
25
     the court to file material under seal. A party who seeks to maintain the confidentiality of its
26
     information must satisfy the requirements of Local Civil Rule 5(g)(3)(B), even if it is not the
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 1
     party filing the motion to seal. Failure to satisfy this requirement will result in the motion to seal
 2
     being denied, in accordance with the strong presumption of public access to the Court’s files.
 3
     5.       5. DESIGNATING PROTECTED MATERIAL
 4
              5.1    5.1 Exercise of Restraint and Care in Designating Material for Protection. Each
 5
     party or non-party that designates information or items for protection under this agreement must
 6
     take care to limit any such designation to specific material that qualifies under the appropriate
 7
     standards. The designating party must designate for protection only those parts of material,
 8
     documents, items, or oral or written communications that qualify, so that other portions of the
 9
     material, documents, items, or communications for which protection is not warranted are not
10
     swept unjustifiably within the ambit of this agreement.
11
              Mass, indiscriminate, or routinized designations are prohibited. Designations that are
12
     shown to be clearly unjustified or that have been made for an improper purpose (e.g., to
13
     unnecessarily encumber or delay the case development process or to impose unnecessary
14
     expenses and burdens on other parties) expose the designating party to sanctions.
15
              If it comes to a designating party’s attention that information or items that it designated
16
     for protection do not qualify for protection, the designating party must promptly notify all other
17
     parties that it is withdrawing the mistaken designation.
18
              5.2    5.2 Manner and Timing of Designations. Except as otherwise provided in this
19
     agreement (see, e.g., second paragraph of section 5.2(b) below), or as otherwise stipulated or
20
     ordered, disclosure or discovery material that qualifies for protection under this agreement must
21
     be clearly so designated before or when the material is disclosed or produced.
22
                     (a)     (a) Information in documentary form: (e.g., paper or electronic documents
23
     and deposition exhibits, but excluding transcripts of depositions or other pretrial or trial
24
     proceedings), the designating party must affix the word “CONFIDENTIAL” or “HIGHLY
25
     CONFIDENTIAL” to each page that contains confidential material. If only a portion or portions
26

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 1
     of the material on a page qualifies for protection, the producing party also must clearly identify
 2
     the protected portion(s) (e.g., by making appropriate markings in the margins).
 3
                    (b)     (b) Testimony given in deposition or in other pretrial proceedings: the
 4
     parties and any participating non-parties must identify on the record, during the deposition or
 5
     other pretrial proceeding, all protected testimony, without prejudice to their right to so designate
 6
     other testimony after reviewing the transcript. Any party or non-party may, within fifteen days
 7
     after receiving the transcript of the deposition or other pretrial proceeding, designate portions of
 8
     the transcript, or exhibits thereto, as confidential. If a party or non-party desires to protect
 9
     confidential information at trial, the issue should be addressed during the pre-trial conference.
10
                    (c)     (c) Other tangible items: the producing party must affix in a prominent
11
     place on the exterior of the container or containers in which the information or item is stored the
12
     word “CONFIDENTIAL or “HIGHLY CONFIDENTIAL”.” If only a portion or portions of the
13
     information or item warrant protection, the producing party, to the extent practicable, shall
14
     identify the protected portion(s).
15
              5.3   5.3 Inadvertent Failures to Designate. If timely corrected, an inadvertent failure
16
     to designate qualified information or items does not, standing alone, waive the designating
17
     party’s right to secure protection under this agreement for such material. Upon timely correction
18
     of a designation, the receiving party must make reasonable efforts to ensure that the material is
19
     treated in accordance with the provisions of this agreement.
20
     6.       6. CHALLENGING CONFIDENTIALITY DESIGNATIONS
21
              6.1   6.1 Timing of Challenges. Any party or non-party may challenge a designation of
22
     confidentiality at any time. Unless a prompt challenge to a designating party’s confidentiality
23
     designation is necessary to avoid foreseeable, substantial unfairness, unnecessary economic
24
     burdens, or a significant disruption or delay of the litigation, a party does not waive its right to
25
     challenge a confidentiality designation by electing not to mount a challenge promptly after the
26
     original designation is disclosed.
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 1
              6.2    6.2 Meet and Confer. The parties must make every attempt to resolve any dispute
 2
     regarding confidential designations without court involvement.               Any motion regarding
 3
     confidential designations or for a protective order must include a certification, in the motion or in
 4
     a declaration or affidavit, that the movant has engaged in a good faith meet and confer
 5
     conference with other affected parties in an effort to resolve the dispute without court action.
 6
     The certification must list the date, manner, and participants to the conference. A good faith
 7
     effort to confer requires a face-to-face meeting or a telephone conference.
 8
              6.3    6.3 Judicial Intervention. If the parties cannot resolve a challenge without court
 9
     intervention, the designating party may file and serve a motion to retain confidentiality under
10
     Local Civil Rule 7 (and in compliance with Local Civil Rule 5(g), if applicable). The burden of
11
     persuasion in any such motion shall be on the designating party. Frivolous challenges, and those
12
     made for an improper purpose (e.g., to harass or impose unnecessary expenses and burdens on
13
     other parties) may expose the challenging party to sanctions. All parties shall continue to
14
     maintain the material in question as confidential until the court rules on the challenge.
15
     7.       7. PROTECTED MATERIAL SUBPOENAED OR ORDERED PRODUCED IN
16
     OTHER LITIGATION
17
              If a party is served with a subpoena or a court order issued in other litigation that compels
18
     disclosure of any information or items designated in this action as “CONFIDENTIAL,” or
19
     “HIGHLY CONFIDENTIAL” that party must:
20
                     (a)     (a) promptly notify the designating party in writing and include a copy of
21
     the subpoena or court order;
22
                     (b)     (b) promptly notify in writing the party who caused the subpoena or order
23
     to issue in the other litigation that some or all of the material covered by the subpoena or order is
24
     subject to this agreement. Such notification shall include a copy of this agreement; and
25
                     (c)     (c) cooperate with respect to all reasonable procedures sought to be
26
     pursued by the designating party whose confidential material may be affected.
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                                                                         1201 Third Avenue, Suite 4900
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 1
     8.       8. UNAUTHORIZED DISCLOSURE OF PROTECTED MATERIAL
 2
              If a receiving party learns that, by inadvertence or otherwise, it has disclosed confidential
 3
     material to any person or in any circumstance not authorized under this agreement, the receiving
 4
     party must immediately (a) notify in writing the designating party of the unauthorized
 5
     disclosures, (b) use its best efforts to retrieve all unauthorized copies of the protected material,
 6
     (c) inform the person or persons to whom unauthorized disclosures were made of all the terms of
 7
     this agreement, and (d) request that such person or persons execute the “Acknowledgment and
 8
     Agreement to Be Bound” that is attached hereto as Exhibit A.
 9
     9.       9.    INADVERTENT         PRODUCTION          OF    PRIVILEGED           OR      OTHERWISE
10
     PROTECTED MATERIAL
11
              When a producing party gives notice to receiving parties that certain inadvertently
12
     produced material is subject to a claim of privilege or other protection, the obligations of the
13
     receiving parties are those set forth in Federal Rule of Civil Procedure 26(b)(5)(B). This
14
     provision is not intended to modify whatever procedure may be established in an e-discovery
15
     order or agreement that provides for production without prior privilege review. The parties
16
     agree to the entry of a non-waiver order under Fed. R. Evid. 502(d) as set forth herein.
17
     10.      10. NON TERMINATION AND RETURN OF DOCUMENTS
18
              Within 60 days after the termination of this action, including all appeals, each receiving
19
     party must return all confidential material to the producing party, including all copies, extracts
20
     and summaries thereof.       Alternatively, the parties may agree upon appropriate methods of
21
     destruction.
22
              Notwithstanding this provision, counsel are entitled to retain onetwo archival copycopies
23
     of all documents filed with the court, trial, deposition, and hearing transcripts, correspondence,
24
     deposition and trial exhibits, expert reports, attorney work product, and consultant and expert
25
     work product, even if such materials contain confidential material.
26

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 1
              The confidentiality obligations imposed by this agreement shall remain in effect until a
 2
     designating party agrees otherwise in writing or a court orders otherwise.
 3

 4
              IT IS SO STIPULATED, THROUGH COUNSEL OF RECORD.
 5

 6
              DATED:
 7
                                                                     Attorneys for Plaintiff
 8

 9
              DATED:
10
                                                                    Attorneys for Defendant
11
     Dated: July 18, 2022                         By: s/ William C. Rava
12
                                                      William C. Rava, Bar No. 29948
13                                                    Jacob P. Dini, Bar No. 54115
                                                      Perkins Coie LLP
14                                                    1201 Third Avenue, Suite 4900
                                                      Seattle, Washington 98101-3099
15                                                    Telephone: +1.206.359.8000
                                                      Facsimile: +1.206.359.9000
16                                                    WRava@perkinscoie.com
                                                      JDini@perkinscoie.com
17                                                    Attorneys for Plaintiff Bungie Inc.

18
                                                  By: s/ Philip P. Mann
19                                                    Philip P. Mann, WSBA No. 28860
                                                      Mann Law Group PLLC
20                                                    403 Madison Ave. N. Ste. 240
                                                      Bainbridge Island, Washington 98110
21                                                    Phone (206) 436-0900
                                                      phil@mannlawgroup.com
22                                                    Attorneys for Defendants
23
              PURSUANT TO STIPULATION, IT IS SO ORDERED
24
              IT IS FURTHER ORDERED that pursuant to Fed. R. Evid. 502(d), the production of any
25
     documents in this proceeding shall not, for the purposes of this proceeding or any other federal
26
     or state proceeding, constitute a waiver by the producing party of any privilege applicable to
      [PROPOSED] STIPULATED PROTECTIVE                                       Perkins Coie LLP
                                                                      1201 Third Avenue, Suite 4900
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 1
     those documents, including the attorney-client privilege, attorney work-product protection, or
 2
     any other privilege or protection recognized by law.
 3
     DATED: this _______ day of __________, 2022.
 4

 5

 6

 7                                                          [Name of Judge]
                                                                      Thomas S. Zilly
 8
                                                             United States District Court Judge
 9

10

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 1

 2                                              EXHIBIT A

 3                     ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND

 4            I,   ____________________________________          [print   or     type    full     name],   of

 5   ____________________________________ [print or type full address], declare under penalty of

 6   perjury that I have read in its entirety and understand the Stipulated Protective Order that was

 7   issued by the United States District Court for the Western District of Washington on [date] in the

 8   case of ________________ [insert formal name of the case and the number and initials

 9   assigned to it by the court]. Bungie, Inc. v. AimJunkies.com, et al., No. 2:21-cv-811-TSZ. I

10   agree to comply with and to be bound by all the terms of this Stipulated Protective Order and I

11   understand and acknowledge that failure to so comply could expose me to sanctions and

12   punishment in the nature of contempt. I solemnly promise that I will not disclose in any manner

13   any information or item that is subject to this Stipulated Protective Order to any person or entity

14   except in strict compliance with the provisions of this Order.

15            I further agree to submit to the jurisdiction of the United States District Court for the

16   Western District of Washington for the purpose of enforcing the terms of this Stipulated

17   Protective Order, even if such enforcement proceedings occur after termination of this action.

18   Date:

19   City and State where sworn and signed:

20   Printed name:

21   Signature:

22

23

24

25

26

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